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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Ref. Nos. 24320 & 26427


     ORDER (A) AUTHORIZING THE ENTRY INTO, AND PERFORMANCE UNDER,
      THE GLOBAL SETTLEMENT AGREEMENT AMONG THE FTX DEBTORS,
    EMERGENT FIDELITY TECHNOLOGIES LTD, THE JOINT LIQUIDATORS, AND
    FULCRUM DISTRESSED PARTNERS LIMITED; (B) APPROVING THE GLOBAL
        SETTLEMENT AGREEMENT; AND (C) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”) 2 of FTX Trading Ltd. and its affiliated debtors and

debtors-in-possession (collectively, the “FTX Debtors”) and Emergent Fidelity Technologies Ltd.

as debtor and debtor-in-possession (“Emergent”) for entry of an order (this “Order”)

(a) authorizing the FTX Debtors’ and Emergent’s entry into, and performance under, the Global

Settlement Agreement attached hereto as Exhibit A, (b) approving the Global Settlement

Agreement, and (c) granting certain related relief; and this Court having jurisdiction to consider

the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Court being able to issue a final order consistent with Article III of the United States

Constitution; and venue of these Chapter 11 Cases and the Motion in this district being proper



1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     FTX Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
     list of such information may be obtained on the website of the FTX Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

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     Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.



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pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant to

28 U.S.C. § 157(b); and this Court having found that proper and adequate notice of the Motion

and the relief requested therein has been provided in accordance with the Bankruptcy Rules and

the Local Rules, and that, except as otherwise ordered herein, no other or further notice is

necessary; and objections (if any) to the Motion having been withdrawn, resolved or overruled on

the merits; and upon the record of these Chapter 11 Cases, the Motion and supporting documents;

and this Court having found and determined that the relief set forth in this Order is in the best

interests of the FTX Debtors and their estates, and Emergent and its estate; and that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.   The Motion is GRANTED as set forth herein.

                  2.   The FTX Debtors are authorized to enter into, and perform under, the

Global Settlement Agreement.

                  3.   Emergent is authorized to enter into, and perform under, the Global

Settlement Agreement.

                  4.   The terms of the Global Settlement Agreement are approved in their

entirety.

                  5.   The failure to specifically include or reference any particular term or

provision of the Global Settlement Agreement in this Order shall not diminish or impair the

effectiveness of such term or provision.




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               6.      On the Settlement Effective Date, all claims asserted by Emergent against

the FTX Debtors are hereby deemed WITHDRAWN with prejudice and EXPUNGED, including

the following proofs of claim: Claim Nos. 3838, 4228, 4236, and 4237 filed by Toni Shukla as

Joint Liquidator.

               7.      The FTX Debtors and Emergent are authorized and empowered to execute

and deliver such documents, and to take and perform all actions necessary to implement and

effectuate the relief granted in this Order.

               8.      The requirements set forth in Bankruptcy Rule 6004(a) are waived.

               9.      This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.

               10.     The Court shall retain jurisdiction with respect to any matters, claims, rights

or disputes arising from or related to the Motion or the implementation of this Order.




        Dated: October 10th, 2024                         JOHN T. DORSEY
        Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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